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                                  UNITED STATES DISTRICT COURT

                                       DISTRICT OF OREGON

ANDREAOLSON,an individual,                                CaseNo. 3:15-cv-02216-HZ

                     Plaintiff,                           AMENDEDCOMPLAINT
                                                          (Violation of American with Disabilities Act,
         V.
                                                          42 USC §§ 12101 et seq. ; Violation of
                                                          Family Medical Leave Act, 29 USC §§2601
MBO PARTNERS, INC., a Virginia                            et seq.)
Corporation; UNITED STATES OF
AMERICA, by and through the Department of
Energy and Bonneville PowerAdministration;                DEMANDFOR JURY TRIAL
and JAMES MCHARD PERRY, Secretary
ofthe Department ofEnergy,

                     Defendants.




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                                    MILLER NASH GRAHAM & DUNN LLP
                                              ATTORNEYS AT LAW                              4841-8203-3213.1
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                                    SUMMARY STATEMENT

                                                  1.


                Plaintiff Andrea Olson ("Plaintiff) seeks monetary relief, attorneys' fees, and
 costs againstMBO Partners, Inc. ("MBO"), and Bonneville PowerAdministration ("BPA")
 (collectively, "Defendants") to redress violations of her rights under the Americans with
 DisabilitiesAct andFamily Medical Leave Act, alleging as follows:

                                 JURISDICTION AND VENUE

                                                  2.

                Jurisdiction lies under 28 USC § 1331. This matter involves a civil action arising

 under the laws of the United States and pertaining to federal questions.

                                                  3.
                Venue is proper under 28 USC § 1391. The claims alleged in this complaint are
 based on events and omissions which have substantially occurred in this District.
                                             PARTIES

                Plaintiff Andrea Olson was at all material times, and is now, a citizen of the

United States and a resident and citizen ofthe State of Oregon.

                                                 4.

                Defendant MB0 is a Virginia corporation headquartered in Herndon, Virginia.

MBO provides management services for independent professionals and the clients that engage
them. At the time of the events giving rise to this complaint, MBO was doing business in

Oregon, providing several services, including contracting support and processing; time and

project tracking, approval, and assignment; billing and collection support; expense tracking;
payroll and payroll tax processing; and access to employee benefit programs and insurance.




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                                                     5.
                   DefendantBPA is a federal agency headquarteredin Portland, Oregon. BPA is
 part ofthe United States Department of Energy, an agency of Defendant United States.

                                                    6.
                   JamesRichardPerry is the Secretary ofthe United States Department ofEnergy
                               ADMINISTRATIVEPREREQUISITES

                                                    7.

                   On July 15, 2014, Plaintiff filed a complaint against MBO with the Oregon
 Bureau of Labor and Industries ("BOLI"), alleging, among other things, discrimination against

 her on the basis of disability and reprisal for asserting federally protected rights. The same day,
 Plaintiff cross-filed with the Equal Employment Opportunity Commission (the "EEOC"),

                                                    8.
                   BOLIissued a complaint dismissal memorandum on June 11, 2015. The EEOC

 issued a right-to-sue letter on August 27, 2015.

                                                    9.
                   Plaintifffiled her original complaint on November24, 2015 andtherefore she

 complied with any administrativeprerequisites to file suit.

                               FACTS COMMONTO ALL CLAIMS
           A.      Plaintiffs begins working with BPA as a contractor.

                                                    10.
                   In January2010, plaintiffexecuted a contract with BPA on behalfofPacific

Disability Management LLC ("PDM"), an Oregon domestic limited liability company, of which
Plaintiffis the sole managerandmember.

                                                     1.

                   Plaintiff worked as contractor for BPA, providing reasonable accommodation

services to BPA's employees. Plaintiffs duties, included, among other things, providing



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 "reasonable accommodationconsultation and guidanceunderthe federal RehabilitationAct and

 the Americanwith DisabilitiesAct (the "ADA")to client managementand reasonable

 accommodationservices to client employees on approval by client management. In addition,

 Plaintiff maintained and retained "case management files per legal rules and regulations as well

 as client policy. " While working for BPA, Plaintiff was recognized for going "a goodjob of
 disability management."

                                                  12.

                  The initial contract betweenPDM and BPA was a one-year contract, renewable

 annually for up to five years. Over the next several years, PDM and BPA extendedor amended
the contract several times. Finally, in January 2012, Plaintiff signed an additional contract

 extension and modification to extend reasonable accommodation services and funds through
January2012. This wasthe last contract extension that Plaintiffsignedwith BPA.
          B.      BPA becomes Plaintiffs "joint employer" along with MBO.

                                                  13.
                  In December 2011, MBO advised BPA that Plaintiffwas at risk ofreclassification

by the United States to avoid the Internal Revenue Service determining that she was an

employee. To avoid the classification, BPA instructed that she could continue working for BPA

as its Reasonable Accommodation Coordinator, but only if she became a W-2 employee of
MBO-a placement agency that supplies temporary workers, referred to as "individual

professionals, " to numerous clients, including BPA and other federal agencies. To become a

W-2 employee ofMBO, Plaintiff had to execute an employment contract with MBO, which

would function as a placement agency by supplying Plaintiffs services to BPA.

                                                 14.
                  At BPA's insistence, on January 17, 2012, Plaintiffsigned a General Service
Agreement (the "Agreement") with MBO




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                                                 5.
               From January 2012, MBO "supplied" Plaintiff as a worker to BPA to fill BPA's

position of "Technical-ProfessionalSubjectMatter Expert" ("SME"). In that role, Plaintiff

provided professional disability services to BPAthroughthe direction ofBPA's Talent

 Sustainment Manager, Sharon Hale-Mockley. In this role, Plaintiff maintained the title of

 "ReasonableAccommodation Coordinator" and used a BPA e-mail address, abolson(a),bpa. eov.

                                                16.
               As part ofthe Agreement, BPApaidMBO for work performed by Plaintiffand
MBO, in turn, paid Plaintiff after extracting a "business management fee"-based on a

percentage ofthe contract rate that Plaintiff was being paid through BPA-for its services.
MBO provided employee benefits to Plaintiff, including group health, life, and disability

benefits, and could direct contributions to the "MBO Association401(k) plan."

                                                17,

               MBO controlled Plaintiffs conditions of payment, directed how Plaintiff was to

submit her hours worked, and dictated how andwhenPlaintiffwould be paid. To receive

payment, Plaintiffsubmitted her hours worked andtravel time to MBO through a billing and

work order system used by Defendantscalled Fieldglass. At Defendants' direction, Plaintiff

continued to submit detailed invoices to BPA, in addition to logging her time in Fieldglass.

                                                18.
               Unbeknownst to Plaintiff, BPA sent MBO recurring work orders for Plaintiffs
services. Years later, Plaintiffdiscoveredthat she was on temporary assignmentto BPA, MBO's
client.

                                                19.
               Plaintiff worked as the Reasonable Accommodation Coordinator solely for BPA

through MBO. Plaintiffwas not askedto perform work for any other entities, nor did she solicit




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outside work, because she was working full time meeting the work requests and reporting

requirements ofBPA and MBO.
         C.      Plaintiffs disabilities and Defendants' knowledse of those disabilities.

                                                  20.
                 Plaintiff has an obvious physical disability that was known to BPA since it first
hired her in 2010. Plaintiffsuffers from hearing loss of greater than 70 decibels over both ears,

and must wear hearing aids and utilize amplification to talk on the telephone.

                                                  21.

                 Plaintiffalso has a non-obvious disability, anxiety. This disability causes

cognitive impairment, including impaired concentration, fatigue, episodic difficulties with

emotional regulation, and difficulty in communicating with others. This disability is further

exacerbated by Plaintiffs hearing loss.

                                                  22.
                 In April 2013, Plaintiff had her first onset of anxiety while working for BPA

through MBO.

                                                  23.
                 In November 2013 Plaintiffe-mailed MBO Business ManagerMeganCraft,

informing Ms. Craft that Plaintiff was "having difficulty performing" herjob duties as
ReasonableAccommodation Coordinatorbecause, among other things, the Medical Program

Manager ("MPM") had been directly interfering with her ability to do herjob. Plaintiff also
informed Ms. Craft that she feared retaliation.

         D.      Plaintiff lodees ethics complaints and invokes her FIVILArights, only to have
                 Defendants violate those rights.

                                                  24.
                 In December2013, Plaintifflodged an ethics complaint with BPA's Ethics

Hotline againstthe MPM. Plaintiffcomplainedto the hotline thatthe MPM was creating a



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 hostile work environment by impeding Plaintiffs ability to effectively assist employees who had

 legally cognizable disabilities requiring accommodation. After this complaint, the MPM

 continuedto obstruct Plaintiffs work performance.

                                                 25.

               Plaintiffs direct supervisor, Ms. Hale-'Mockley, was notified of Plaintiffs ethics

complaint. Thereafter,M.s. Hale-Mockleybeganto direct increasingcriticism at Plaintiffs

professionalrecommendations andto challenge Plaintiffs expertise.

                                                 26.
               In January2014, for example, Ms. Hale-Mockley questionedPlaintiffs interest in

working for BPA, repeatedly askingif she still wantedto work at BPA. Ms. Hale-Mockley did

so despite knowingthat Plaintiffs only occupation and source ofincome was as the Reasonable
Accommodations Coordinator for BPA, through MBO. This repeated interrogation further

exacerbated Plaintiffs anxiety

                                                 27.
               On February 3, 2014, Ms. Craft informed Plaintiff that MBO had received an

extension for Plaintiffs work order with BPA and that Plaintiffs new end date was January 30,

2015.

                                                 28.
               In February2014, Plaintiffcontacted Ms. Craft by telephone to addressthe

numerous challenges of workingwith BPA on providing reasonable accommodationsto BPA
employees. During that telephone call, Plaintiff identified the individuals at BPA whose

treatment of her was exacerbating her anxiety.

                                                 29.
               The MBO Partners Associate Handbook provides that MBO "will work

reasonablywith Associatesto assistthem in addressingany disability related issues" "by making
requests for reasonable accommodations to their Business Manager. " The handbook further



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 provides that, "[i]fthe associateis working at a client site, [MBO] will contact the client and

 discuss with them their ability to provide a reasonable accommodation. " Contrary its own

 handbook, MBO failed to take any steps after the telephone conversation to discuss reasonable
 accommodations with BPA or Plaintiff.

                                                  30.
                In February2014, Plaintiffverbally notified BPA managementthat she suffered
 from anxiety

                                                  31

                On March 3, 2014, Plaintiffe-mailed Ms. Craft, formally requesting reasonable

 accommodationand providing several proposed accommodationsto be facilitatedby BPA

 OmbudsmanJackieShelpman. The proposed accommodationswere increasedtelework time,

 more structured communications with Ms. Hale-Mockley, and the ability to communicate
 directly withthe Department ofEnergy's reasonableaccommodations coordinator. In addition,

Plaintiff informed Ms. Craft that she was "working with her medical provider on [] FMLA
 documentation."

                                                 32.
                On March4, 2014, Ms. Craft responded, informing Plaintiffthat MBO Human
Resources Director Carol Baxter ("Ms. Baxter") had beeninformed ofPlaintiffs reasonable

accommodation requests. Ms. Craft addedthat she would let Plaintiffknow once she heardback
 "regardingJackie Shelpman."

                                                 33
                On March25, 2014, Plaintiffe-mailed Ms. Baxter requesting medical leave. In
her e-mail. Plaintiff attached a diagnosis and a standard U. S. Department of Labor FMLA

request form, "Certification of Health Care Provider for Employee's Serious Health Condition,"
with completed Employee and Health Provider sections. Sections II and III. On the FMLA form,

Plaintiffs clinical psychologist, Janice I. Volkin, provided the requisite medical certification,


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 stating Plaintiffs conditions and the amount of leave Plaintiff would need. Dr. Volkin

 recommended that Plaintiff was initially to be on leave through March 28, 2014, needing

 additional periods of leave during episodes ofheightenedsymptoms.

                                                   34.
                   The FMLA form provides that an employer "complete Section I before giving this

 form to" the employee. Plaintiff informed Ms. Baxter that she received a form with Section I

 uncompleted. PlaintiffaskedMs. Baxterto sendher a copy ofthe form with anyupdates.

                                                   35.
                   On March 25, 2014, Plaintiffe-mailed Ms. Baxter a letter from Dr. Volkin

regardingPlaintiffs FMLAleave request. In the letter, Dr. Volkin explainedwhy Plaintiffwas
 out of the office from March 17, 2014, through March 21, 2014. In addition, the letter stated that

Plaintiffwould be out ofthe office from March24, 2014, through March28, 2014, andthat

 "theseperiods oftime should be consideredpart ofthe requested FMLAleave time,"

                                                   36.
                   On or about March 25, 2014, Ms. Craft e-mailed Plaintiff, notifying Plaintiffthat

Ms. Baxter had received Plaintiffs FMLA documentation. Ms. Craft did not mention that any
further action on Plaintiffspart was neededwith regardto the FMLArequest.

                                                   37.
                   NeitherMBO nor BPA, however, respondedto Plaintiffs FMLArequest with any
notice to Plaintiff about her specific rights and responsibilities, or entitlement to leave, under

FMLA. Plaintiff was not supplied with the requisite F1VTLApaperwork and was not notified
whenher leave beganor when it would expire. This conduct exacerbatedPlaintiffs anxiety.
           E.      BPA terminates Plaintiffs employment.

                                                   38.
                   The same day Plaintiffinvoked her FMLArights, Scott Hampton, BPA's Manager

of Supplemental Labor Management Office, e-mailed Ms. Hale-Mockley, recommending,


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 despite Plaintiffs "long history" at BPA and "goodwork, " that BPA "releas[e]" Plaintiffand

 "find a new person to do the job."

                                                  39.
                 The same day, Ms. Hale-Mockley replied to Mr. Hampton's e-mail, stating that

 she had "been thinking seriously of release as well,"

                                                  40.

                 During her leave, Plaintiff kept BPA and MBO apprised of her progress via

e-mail. For example, on Friday, March 28, 2014, Plaintiffe-mailed Ms. Baxterregarding
Plaintiffs FMLA leave request, informing her that, per Dr. Volkin's instructions, Plaintiff would

be out of the office the next week. Plaintiffasked Ms, Baxter whether Plaintiffneeded to do

anything else other than inform her manager at BPA. In addition, PlaintiffaskedMs, Baxter to

explainwhetherPlaintiffs medical information hadbeenshared, and if so, what information and
with whom.

                                                  41.
                 On March 28, 2014, Ms. Craft e-mailed Plaintiff, informing her that Plaintiff did

"not needto take in [sic] further action in regardsto FMLA. You [sic] medical informationhas

only been received and seenby Carol Baxter."

                                                  42.

                 On April 1, 2014, while on FMLA leave, BPA instructed Plaintiff to work.

                                                  43.
                 On April 3, 2014, Plaintiff e-mailed Ms. Baxter to state that, on the instructions of

her medical provider, she would need additional leave through April 18, 2014. Plaintiff also

wrote to Ms. Baxter that "If you need any additional information, please let me know."

                                                  44.
                 On April 28, 2014, Ms. Craft e-mailed Plaintiff disclosing that MBO did not view

Plaintiffas its employee.



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                                                  45.
                On April 10, 2014, Mr. Hampton e-mailed Meghan Defibaugh, an operational

account manager for MBO, to report that BPA had decidedto terminate Plaintiff. He asked
MBO not to inform Plaintiff of this decision, so MBO did not inform Plaintiff of BPA's decision

to terminate her. In the e-mail, Mr. Hampton stated, "We all did have the conversation a few

weeks ago about [Plaintiffs] request for reasonable accommodation, but those three items were

not medically necessary and appeared to be more issues with her role and her BPA manager."

                                                  46.
                Plaintifflater learned that several BPA andMBO employees hadparticipated in a

conference call about Plaintiffs accommodationrequests. Among MBO's employees on that call

were Ms. Craft, Anne Lupardo, and Kimball Norup. Plaintiffwas not present at the conference
or any other conversations between BPA and MBO employees about her accommodation

requests.

                                                 47.

                Mr. Hampton's conclusion that Plaintiffs requests were "notmedically necessary"

was not basedon any apparentmedical authority. Despitethis, no employee ofBPA or MBO

ever contacted Plaintiffto request additionalmedical documentationto support herproposed
accommodations or to suggest alternate accommodations.

                                                 48.
               OnApril 14, 2014, Ms. Hale-Mockley e-mailed another BPA employee

appointing that employee as BPA's new reasonable accommodationcoordinator, replacing
Plaintiff. Plaintiff did not learn that she had been replaced until late April 2014 or early
May 2014.




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                                                 49.
                On April 28, 2014, Plaintiffe-mailedMs. Craft againto ask if Ms. Craft had

 heard anything from BPA regarding Plaintiffs reasonable accommodation requests. The same
 day, Ms. Craft e-mailed Plaintiffto confirm thatthe requests hadbeen forwardedto BPA.

                                                 50.

               In a separate e-mail, Plaintiffasked Ms. Craft to confirm when MBO had

 submitted her accommodation requests to BPA and what BPA had responded.

                                                 51.
               On April 29, 2014, Ms. Craft respondedthat the request hadbeen submitted in

 early March, and that Mr. Hampton confirmed the receipt of the request, although no response

was given to Plaintiffs request. Ms. Craft stated, "at this time BPA is waiting for you to return
to work to discuss your request further" and that Plaintiff would have to take the initiative to get
in touch with BPA "for further specifics."

                                                 52.

               In a separate e-mail, Ms. Craft told Plaintiffthat in regardsto Plaintiffs FMLA

leave request, Plaintiff had "the ability to take off as long as necessary and still come back and
work through MBO. " According to Ms. Craft, "the decision is up to BPA and not MBO" as to
whether any work would "remainheld" for Plaintiff. At the time Ms. Craft wrote this, MBO had
known for at least two weeks that BPA had decided to terminate Plaintiff.

                                                 53
               OnApril 28, 2014, without notice, Plaintiffs accessto BPA's network was cut off,
and she was effectively restricted from performing any work for BPA.

                                                 54.
               On April 29, 2014, Plaintiff spoke to a BPA information technology colleague,
Lonell Golden. Mr. Golden expressedconcern and asked about Plaintiffs health. He did so

becausehe hadreceived a request to process Plaintiffstermination.



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                                                55.
                On April 29, 2014, Plaintiffinitiated a complaint of unlawful discriminationwith
 the BPA Civil Rights/Equal Employment Opportunity office ("BPA EEO") regarding BPA's
 actions against her.

                                                56.
                On April 30, 2014, Plaintiff received an e-mail from Tamara Wilde, a BPA

 supplemental labor operations analyst, stating among other things: "your assignment with BPA

 is being ended effective immediately. Your access to the BPA network and/or property has been

 revoked. The BPA security badge and any other BPA property ... in your possession will need

 to be returned within three business days. For your convenience these items may be surrendered
to the guard at the guard station in the lobby ofBPA's headquarters in Portland, Oregon."

                                                57.
                On May 1, 2014, Mr. Hampton e-mailed Plaintiff claiming that the e-mail from
Ms. Wilde's April 30, 2014, e-mail had been sent in error.

                                                58.
                On May 7, 2014, Mr. Hampton e-mailed Ms. Baxter, informing her that BPA
would not grant Plaintiff network access to enable her to perform any work,

                                                59.
                On May 7, 2014, Plaintiff learned that her position was being given to a BPA
employee and that Plaintiff needed to train that employee.

                                                60.
                On May 19, 2014, Mr. Hamptonreiterated to Ms. Baxter and several other MBO

employees that BPA had cut off all ofPlaintiffs access to the BPA network. MBO employees
took no action to restore Plaintiffs access to the BPA network or to assign her any additional
work.




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                                                   61.
                  On May 27, 2014, Ms. Craft e-mailed Plaintiff, finally alerting her that Plaintiff
 was "workingin a contract position for BPA, as an independentconsultant, " andthat Plaintiffs

 "relationship with MBO is that you are a W2 employee for tax purposes."

                                                   62.
                  After Plaintiffs medical leave period expired, MBO assignedno further work to
 Plaintiff.

                                                   63.
                  As a direct and proximate result ofBPA's and MBO's actions, Plaintiff has

 suffered damages, including but not limited to: lost wages and employment benefits; anxiety;

pain; suffering; and mental and emotional distress; and harm to her employment reputation and
prospects.

                                   FIRST CLAIM FOR RELIEF

                      (ADA Disability Discrimination / Failure to Accommodate

                                42 USC § 12112 - against MBO only)

                                                  64.
                  Plaintiff re-alleges and incorporates paragraphs 1 through 63.

                                                  65.

                  The ADA, through 42 USC § 12112, prohibits discrimination against a qualified

individual on the basis of disability. Such discrimination includes, among other prohibited acts,
failure to make reasonable accommodations for an individual's known physical or mental
limitations.

                                                  66.

                  At all material times, MBO was an employer for the purposes of, and subject to
the ADA.




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                                                     67.

                    Plaintiff was a disabled person within the meaning of 29 USC §§12102

 and 12111 in that, at all material times, Plaintiff suffered from physical or mental impairments
 that substantially limited one or more of her major life activities; had a record of suffering from
 physical or mental impairments that substantially limited one or more of her major life activities;

 or was regarded by MB0 and BPA as suffering from physical or mental impairments that
 substantially limited one of more of her major life activities.

                                                     68.
                    Plaintiff was otherwise qualified to perform the essential functions of her job,
 with or without accommodation; and therefore, Plaintiff is a "qualified individual" with a
 "disability" for purposes of 29 USC §§ 12102 and 12111.

                                                     69.
                    Plaintiffrequested reasonable accommodations from MBO. In addition, MBO

 was on notice of Plaintiffs claims that co-workers and/or managers were discriminating against
 her because of her disabilities,

                                                     70.
                    MBO's conduct violated 42 USC § 12112 in several ways, including, but not
 limited to, the following: MBO ignored all ofPlaintiffs requests; MBO failed to engage in the
 interactive process; allowed Plaintiff to be subjected to a hostile work environment concerning
her disabilities; and/or subjected Plaintiffto a hostile work environment because ofher
 disabilities.

                                                    71.
                    MBO discriminatedand retaliated againstPlaintiffon the basisofher disabilities.

Plaintiffwas subject to adverse employment actions by MBO management, including
termination ofher employment.




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                                                  72.
                As a direct andproximate result ofMBO's employment actions, Plaintiffhas
 suffered-and continues to suffer-humiliation, anxiety, distress, and impairment of her

personal dignity andright to be free from discriminationor interference with her statutory rights.

 Plaintiffsuffered, and continues to suffer, economic damages, including, but not limited to, loss
 ofpast and future wages and benefits, and other expenses.

                                                  73.
                Plaintiffis entitled to equitablerelief, including, but not limited to, a declaration

that MBO violated Plaintiffs statutory rights. Plaintiff should be reinstated and awarded past
economic damages and all lost benefits in an amount to be determined at trial. If reinstatement is

not appropriate, then Plaintiffis entitled to an awardfor backpay and lost employment benefits
and future lost earnings, benefits, and lost earning capacity, and other compensatory damages for

future pecuniary losses. Plaintiffs economic damages are continuing in nature and should be
awarded in an amount to be determined at trial.

                                                  74.
                Plaintiff is entitled to compensatory damages for emotional pain, suffering,

inconvenience, mental anguish, loss of enjoyment of life, and other nonpecuniary losses in an
amount to be determined at trial.

                                                  75

                To the extent any amount awarded to Plaintiff is for damages occurring before the

entry ofjudgment, Plaintiff is entitled to an award ofprejudgment interest at the legal rate from
the date the damageoccurred until the date ofjudgment.

                                                  76.

               MBO should be assessedpunitive damagesin an amount determined at trial to
punish MBO and to deter such conduct in the future.




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                                                  77.

                 Pursuant to 42 USC §§ 1988 and 2000e-5, Plaintiff is entitled to an award of

 attorneys' fees, expert witness fees and costs incurred in this action.

                                                  78.
                Plaintiff is entitled to post-judgment interest on all damages, costs, expenses, and
 fees from the date ofjudgment until the date paid.
                                 SECOND CLAIM FOR RELIEF

                (ADA Disability Retaliation, 42 USC § 12203 - against MBO only)

                                                  79.
                Plaintiff re-alleges and incorporates paragraphs 1 through 63 above.

                                                  80.
                The ADA, through 42 USC § 12203, prohibits retaliation against or interference

 with an individual who invokes employment rights under the ADA, or who files a charge or
 complaint ofdisability discrimination.

                                                  81.

                At all material times, MBO was an employer for the purpose of, and subject to the
ADA.

                                                  82.
                Plaintiff was a disabled person within the meaning of 29 USC §§ 12102

and 12111 in that, at all material times, Plaintiff suffered from physical or mental impairments

that substantially limited one or more ofher major life activities; had a record ofsuffering from
physical or mental impairments that substantially limited one or more ofher major life activities;
or was regarded by MBO as suffering from physical or mental impairments that substantially
limited one ofmore ofher major life activities.




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                                                  83.
                 Plaintiffwas otherwise qualified to perform the essential functions ofherjob,

 with or without accommodation and is therefore a "qualified individual" with a "disability" for
 purposes of 29 USC §§ 12102 and 12111,

                                                  84.
                 MBO's actions violated 42 USC § 12203 in several ways, including, but not
 limited to, the following: (a) MBO terminated Plaintiff and/or deprived her of additional

 employment opportunities based in whole or in part on her request for disability

 accommodations; and (b) MBO denied employment opportunities to Plaintiff based on her filing
 complaints with the BPA EEO and/or BOLI.

                                                  85.
                 As a direct and proximate result of these actions. Plaintiff has suffered economic

 damages by way ofpast and future lost wages and employment benefits in an amount to be
 determined at trial.

                                                 86.
                 As a further direct and proximate result ofMBO's wrongful retaliatory actions, as
 described in this complaint. Plaintiffhas suffered non-economic compensatory damages by
reason of emotional distress, anxiety, worry, professional humiliation, embarrassment, loss of

 self-esteem, self-respect and confidence, and an overwhelming perpetual sense ofjeopardy with
respect to her employment in an amount to be determined at trial.

                                  THIRD CLAIMFOR RELIEF
                                             Count One

                (FMLA Interference, 29 USC § 2615(a)(l) - against MBO and BPA)

                                                 87.
                 Plaintiff re-alleges and incorporates paragraphs 1 through 63 above.




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                                                 88.
                 The FMLA, through 29 USC § 2615(a), prohibits an employer from interfering
 with, restraining, or denying the exercise of or the attempt to exercise, any right provided under
 the FMLA.

                                                 89.
                 For purposes ofFMLA coverage, from January2012 until Plaintiffs termination,

 BPA and MBO were Plaintiffsjoint employers exercisingjoint control over Plaintiffs work and

 working conditions. 29 CFR § 825. 106. Regardless of how MBO classified Plaintiffs position,

 the benefits MBO offered demonstrate an employer-employee relationship between MBO and

 Plaintiff. And MBO was Plaintiffs employer for purposes ofthe Americans with Disabilities

 Act ("ADA") andthe Family and Medical Leave Act ("FMLA"). MBO benefitedfrom Plaintiffs
 services by receiving a business management fee and "tax allocation fees."

                                                 90.

                 At all times material to this complaint, MB0 was engaged in an industry affecting
 commerce and, either solely or as a joint employer, had more than 50 employees for each

 working day during each of20 or more calendar workweeks in the current or preceding calendar
 year. Accordingly, at all material times, MBO was an "employer" as defined by 29 USC
 §2611(4)(A).

                                                 91.
                 At all times material to this complaint, BPA was engaged in an industry affecting
commerce and employed more than 50 persons for each working day during each of 20 calendar
workweeks in the current or preceding calendar year. Accordingly, at all material times, BPA
was an "employer" as definedby 29 USC § 2611(4).

                                                 92.
                 Plaintiffis a Title I employee underthe FMLAbecause she is not a federal civil
service employee covered by Title II.



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                                                   93
                 Plaintiff is an "employee" for purposes of the FMLA, because Plaintiff worked

 for BPA, through MBO, for more than 12 months and she worked at least 1250 hours during the
  12-month period before the leave commenced. 29 USC § 2611(2)(A); 29 CFR §§ 825. 110(b),
 825. 110(c).

                                                  94.

                 Plaintiff suffers from one or more "serious health conditions, " as that term is

 defined in 29 USC § 2611(11), including but not limited to hearing loss, anxiety, and cognitive
 impairment. Because Plaintiff suffered from one or more serious health conditions, she was
 entitled to all rights afforded by the FMLA.

                                                  95,
                 Plaintiffs leave was implemented so Plaintiff could recover from, or seek
 treatment for her own serious health conditions. 29 CFR § 825. 1 12(a)(4).
                                                  96.

                 Defendants' actions violated 29 USC § 2615(a) in several ways, including butnot
 limited to the following: (a) Defendants failedto provide Plaintiffnotice ofherleave rights and
 entitlement, asrequired by 29 CFR § 825. 300(d)-(e), and (b) Defendants denied Plaintiff
 reinstatement by failingto restore herto employment at the conclusion ofleave protected by
 FMLA, as required by 29 USC § 2614, in retaliation for having invoked her FMLA rights and
 for requesting and/or taking FMLA leave. Defendants' termination ofPlaintiff constituted

 interference with Plaintiffs exercise ofher federally protected right to take leave and receive
reinstatement.


                                                 97.
                 Defendants knew or showed reckless disregard for whether their conduct was
prohibited by the law; therefore, Defendants' conduct constituted a willful violation ofthe
FMLA.



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                                                  98.
                As a result of Defendants' conduct, Plaintiff has suffered economic damages in an
 amount to be determined at trial, including front pay damages, due to her termination andher
 current and f-uture medical expenses as a result of the severe impact on her mental and emotional

 state. Plaintiff is also entitled to equitable relief as may be appropriate, including employment,

 reinstatement, and promotion. Plaintiff is further entitled to an additional award of liquidated
 damages equal to an amount of economic damages under 29 USC § 2617. And Plaintiff is

 entitled to attorney fees, reasonable expert fees, and costs under 29 USC § 2617.
                                             Count Two

                               (FMLA Retaliation, 29 USC § 2615(b))

                                                  99.
                Plaintiffre-alleges and incorporates paragraphs 1 through 63 and 89 through 95
above.

                                                 100.

                FMLA, through 29 USC § 2615(b), prohibits an employer from discharging or
discriminating against an employee for filing a charge or participating in a proceeding related to
that employee's FMLArights.

                                                 101.
                Defendants actions and/or omissions violated 29 USC § 2615(b) in several ways,
including, but not limited to, discharging and/or failing to restore Plaintiff to her employment
based in whole or in part on Plaintiff filing complaints with the BPA EEO and/or BOLI and the
EEOC. Defendants' termination of Plaintiff constituted retaliation and/or discrimination because

ofPlaintiffs exercise ofher rights under FMLA, including participating in inquiries under the
FMLA.




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                                                  102.
                Defendants knew or showed reckless disregard for whether their conduct was
 prohibited by the law; therefore, Defendants' conduct constituted a willful violation of the

 FMLA.

                                                  103.
                As a result of Defendants' conduct, Plaintiff has suffered economic damages in an
 amount to be determined at trial, including front pay damages, due to her termination and her

 current and future medical expenses as a result of the severe impact on her mental and emotional

 state. Plaintiff is also entitled to equitable relief as may be appropriate, including employment,

 reinstatement, and promotion. Plaintiff is further entitled to an additional award of liquidated
 damages equal to an amount of economic damages under 29 USC § 2617. And Plaintiff is

 entitled to attorney fees, reasonable expert fees, and costs under 29 USC § 2617
                                               Count 3

                           (FMLA Discrimination, 29 USC § 2615(a)(2))

                                                 104.
                Plaintiffre-alleges and incorporates paragraphs 1 through 63 and 89 through 95
above.

                                                 105.
                FMLA, through 29 USC § 2615(a)(2), bars employers from taking adverse
employment action against an employee for opposing any practice made unlawful by the FMLA.
                                                 106.
                Defendants actions violated 29 USC § 2615(a)(2) in several ways, including, but
not limited to discriminating against Plaintiff for opposing one of Defendant's practices
prohibited by FMLA.




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                                                 107.
                Defendantsknew or showedreckless disregardfor whethertheir conduct was
 prohibited by the law; therefore, Defendants' conduct constituted a willful violation of the

 FMLA.

                                                 108.

                As a result ofDefendants' conduct, Plaintiffhas suffered economic damagesin an
 amount to be determined at trial, including front pay damages, due to her termination and her
current and future medical expenses as a result of the severe impact on her mental and emotional

state. Plaintiff is further entitled to an additional award of liquidated damages equal to an

amount ofeconomic damages under 29 USC § 2617. Plaintiffis also entitled to equitable relief
as may be appropriate, including employment, reinstatement, and promotion. And Plaintiff is
entitled to attorney fees, reasonable expert fees, and costs under 29 USC § 2617

                                                109.

                Plaintiffacknowledgesthat the Agreement she made with MBO contains a clause

requiring arbitration of disputes. In the event the Court enforces this arbitration clause against
Plaintiff, she respectfully requests that the Court enter a stay ofproceedings pending arbitration
ofthe claims against MBO, and that the Court retainjurisdiction to enter an order andjudgment
on the arbitration award.

                                     PRAYERFORRELIEF
               WHEREFORE, Plaintiff prays for judgment against Defendants as follows:
                1.     JudgmentagainstMBO in an amount to be determined at trial for actual,
economic and contract damages, of not less than $450, 000;

               2.      JudgmentagainstMBO, in the amount to be determined at trial, for

noneconomic and other compensatory damages, including pain, suffering, and mental distress, of
not less than $300,000;




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                3       Judgment against MB0, in an amount to be determined at trial, for

 punitive damages;

                4.      Pursuant to 29 USC § 2617(l)(a)(A), compensation for monetary loss,
 including lost wages and employment benefits, including reinstatement to a position of
 comparable pay, rank, and seniority with fully restored benefits, or future lost wages in lieu of

 reinstatement; reemployment, or promotion, plus front pay and prejudgment interest;
                5.      Liquidateddamages, includingpre-judgment interest;

                6.      Prejudgment and postjudgment interest as appropriate and allowed by law;
                7,      On all claims, as applicable, amounts necessaryto offset the income tax

 consequences of receiving a lump sum payment, rather than receiving a payment of wages over
 the applicable time frame;

                8,      Pursuant to 29 USC § 2617(a)(3), 42 USC § 1988(b), 42 USC § 2000e-
 5(k), and 42 USC §§ 12205, 12117(a), reasonable attorney fees and costs;
                9.      Plaintiffs fees, costs, and disbursements incurred in this action;

                10.     In the event the Court enforces the arbitration clause in the Agreement
 against Plaintiff, a stay of proceedings pending arbitration; and

                11.     Any other equitable relief this Court deems appropriate.
                DATEDthis I? dayofMarch,2017.
                                               MILLE^<ASH GRAHAM & DUNN LLP



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                                       CERTIFICATE OF SERVICE

                 I hereby certify that I served the foregoing Amended Complaint on:

                                 Jenna Leigh Mooney
                                 j ennamooney@dwt.corn
                                 Kalia Walker
                                 kaliawalker@dwt.corn
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                                 Attorneys for DefendantMB0 Partners, Inc.

 by the following indicated method or methods on the date set forth below



                 CM/ECF system transmission.

                 E-mail. As required by Local Rule 5. 2, any interrogatories, requests for
                 production, or requests for admissionwere e-mailed in Word or Wordperfect
                 format, not in PDF, unless otherwise agreed to by the parties.


               DATEDthis_<3_dayofMarch,2017.

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